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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

UNITED STATES OF AMERICA                   :
                                           :
       v.                                  :      CASE NO. 4:22-MJ-114
                                           :
JOSHUIA BROWN,                             :
                                           :
                     Defendant.            :


                                   ORDER TO UNSEAL

       The Court having read the Motion to Unseal in this matter, and it appearing to the Court

that document Arrest Warrant and Complaint in Case No. 4:22-MJ-114, filed herein, shall be

unsealed.



       SO ORDERED, this 2nd day of August, 2022.




                                           s/ Charles Weigle
                                           CHARLES WEIGLE
                                           UNITED STATES MAGISTRATE JUDGE
                                           MIDDLE DISTRICT OF GEORGIA

Presented by:


/s/ Chris Williams
CHRISTOPHER WILLIAMS
ASSISTANT UNITED STATES ATTORNEY
